                     Case 2:16-cr-00020-TLN Document 102 Filed 04/24/18 Page 1 of 1

                                           UNITED STATES DISTRICT COURT
                                                      for the
                                          EASTERN DISTRICT OF CALIFORNIA

                                     PRETRIAL SERVICES VIOLATION PETITION

  UNITED STATES OF AMERICA,                                                Docket No. 2:16-CR-00020 TLN -2
                 v.                                                        Federal Charges: 18: 1956(h) - Money Laundering
                                                                           Conspiracy
             Ronda Boone

COMES NOW, Taifa M. Gaskins Pretrial Services Officer of the Court, presenting an official report upon the conduct of
Ronda Boone, who was placed on bond by the Honorable Allison Claire sitting in the Court at Sacramento, California, on
February 16, 2016, who imposed the following RELEVANT condition(s) of pretrial release which are at issue in this report:

RELEVANT CONDITION(S): You shall surrender your passport to the Clerk, U.S. District Court, and obtain no passport
during the pendency of this case.

ALLEGED VIOLATION CONDUCT: According to the State Department, on March 9, 2018, Ronda Boone applied for a
United States passport. Furthermore, State officials reported Mrs. Boone requested the issuance of the passport be expedited for
travel to Canada from March 19, to March 26, 2018.

PRAYING THAT THE COURT WILL ORDER A Bail Violation hearing scheduled for April 26, 2017, before Your Honor.
I declare under penalty of perjury that the foregoing is true and correct.

                                                                         Respectfully submitted,


                                                                         /s/ Taifa M. Gaskins
Dated: April 23, 2018                                                    U.S. Pretrial Services Officer

                                                              ORDER

 ☐      The Court hereby orders a bench warrant be issued for the arrest of the defendant.
 ☐      The Court hereby orders this ex parte motion and order be sealed.
 ☐      The Court orders a summons be issued with an appearance date of             .
 ☒      The Court hereby orders this matter placed on this court's calendar on April 26, 2018 at 2:00 p.m., and orders the Pretrial
        Services officer to contact the defendant and/or attorney of record to advise them of said order.
 ☐      The Court orders no action be taken.
 ☐      Petition submitted by email/pdf and attested to me as true and accurate by telephone consistent with Fed. R. Crim. P. 4.1
        and 4(d) before me.



                                                                  /s/ Carolyn K. Delaney
Dated: April 23, 2018                                             UNITED STATES MAGISTRATE JUDGE
